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                                 (Stipulating Parties Listed on Signature Page)
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 2
                                     UNITED STATES DISTRICT COURT
 3                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
 4

 5   In re: CATHODE RAY TUBE (CRT)                                  Case No. 07-5944 SC
     ANTITRUST LITIGATION                                             MDL No. 1917
 6
     This Document Relates to:                         STIPULATION AND [PROPOSED]
 7                                                     ORDER REGARDING BRIEFING
     ALL INDIRECT PURCHASER ACTIONS                    SCHEDULE FOR PHILIPS TAIWAN
 8                                                     LIMITED’S AND PHILIPS DO BRASIL
                                                       LTDA.’S MOTION TO DISMISS FOR
 9                                                     INSUFFICIENT SERVICE OF PROCESS
                                                       AND LACK OF PERSONAL
10                                                     JURISDICTION
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       STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE FOR PHILIPS TAIWAN
       LIMITED’S AND PHILIPS DO BRASIL LTDA.’S MOTION TO DISMISS FOR INSUFFICIENT SERVICE OF
             PROCESS AND LACK OF PERSONAL JURISDICTION (3:07-CV-5944 SC, MDL NO. 1917).
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 1           WHEREAS, the Indirect Purchaser Plaintiffs (“IPPs”) filed a Fourth Consolidated Amended

 2   Complaint on January 10, 2013 in the United States District Court for the Northern District of

 3   California against Defendants Philips Taiwan Limited and Philips do Brasil Ltda.1 (collectively the

 4   “Philips Defendants”), among others;
 5           WHEREAS, the Philips Defendants intend to file a Notice of Motion and Motion to Dismiss
 6   the IPPs’ Fourth Consolidated Amended Complaint for Insufficient Service of Process and Lack of
 7   Personal Jurisdiction (the “Motion to Dismiss”) and to notice the Motion to Dismiss for a hearing on
 8   May 30, 2014;
 9           WHEREAS, counsel for the Philips Defendants and counsel for the IPPs have met and
10   conferred and have agreed upon a mutually acceptable briefing schedule relating to the Philips
11   Defendants’ Motion to Dismiss;
12           IT IS HEREBY STIPULATED AND AGREED by and between the Philips Defendants and
13   the IPPs that:
14           1. The Philips Defendants shall file their Notice of Motion and Motion to Dismiss the IPPs’
15   Fourth Consolidated Amended Complaint for Insufficient Service of Process and Lack of Personal
16   Jurisdiction (the “Motion to Dismiss”) on or before March 26, 2014;
17           2. IPPs shall submit their Opposition to the Philips Defendants’ Motion to Dismiss on or
18   before April 14, 2014; and
19           3. The Philips Defendants shall file their Reply Brief in support of their Motion to Dismiss
20   on or before April 24, 2014.
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22                                                    ***
23           The undersigned parties jointly and respectfully request that the Court enter this stipulation
24   as an order.
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     1
       The IPPs’ Fourth Consolidated Amended Complaint names Philips Electronics Industries
26   (Taiwan), Ltd. and Philips da Amazonia Industria Ltda. as defendants. But Philips Electronics
27   Industries (Taiwan), Ltd. has been merged into Philips Taiwan Limited and Philips da Amazonia
     Industria Electronica Ltda. has been merged into Philips do Brasil Ltda.
28                                                 -2-                                   MDL 1917
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.




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              03/27/2014
     Dated: ______________________                        ________________________________
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 4                                                                Hon.         uel CConti
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                                                                 Jud States District Judge




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                                                                          D IS T IC T O
 7   Dated: March 26, 2014                          BAKER BOTTS L.L.P.
                                                                                R

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19
                                                       Attorneys Specially Appearing for
20                                                     Defendants Philips Taiwan Limited and
                                                       Philips do Brasil Ltda.
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10                                                   Purchaser Plaintiffs
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